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In The United States District Court mies QO 8 :
For The Southern District Of New York wi ~” a4 2 |!
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SECURITIES AND EXCHANGE COMMISSION, : *!

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Plaintiff,

- against -

 

 

 

WG TRADING INVESTORS, L.P., 09-cv-175IRCGBD) - - '
WG TRADING COMPANY, LIMIFED PARTNERSHIP, : —
WESTRIDGE CAPITAL MANAGEMENT, INC., : ECF Case

PAUL GREENWOOD and STEPHEN WALSH, :

Defendants,
- and-

ROBIN GREENWOOD and JANET WALSH,
Relief Defendants.

ORDER OF PRELIMINARY INJUNCTION
Plaintiff, U.S. Securities and Exchange Commission (“Commission”) has filed a
Complaint against Defendants WG Trading Investors, L.P., WG Trading Company Limited
Partnership, Westridge Capital Management, Inc., Paul Greenwood and Stephen Walsh,
(collectively “Defendants’’) and Relief Defendants Robin Greenwood and Janet Walsh
(collectively “Relief Defendants”) for Permanent Injunction, Civil Penalties, and Other Equitable
Relief, and moved for an Ex Parte Temporary Restraining Order and Preliminary Injunction.

The Court issued a Temporary Restraining Order on February 25, 2009, which remains in effect

until further order of this Court.

As it appears fo the Court that there is good cause to believe that Defendants have

engaged, arc cngaging in, or are about lo engage in violations of the Securtties Act of 1933 [15

 
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USS.C. § 77{a) et seq.], the Securities Exchange Act of 1934 [15 U.S.C. § 78a et seq.], and the
Investment Advisers Act of 1940 [15 U.S.C. § 80b-1 et seq.], and that this is a proper casc for
granting a preliminary injunction to preserve the status guo, protect public customers from
further toss and damage, and enable the Commnssion to fulfill its statutory duties, the Court
enters this Order as follows;

DEFINITIONS

For the purposes of this Order, the following definitions apply:

i. “Assets” means any legal or equitable interest in, right to, or claim to, any real or
personal property, including but not limited to chattels, goods, instruments, equipment, fixtures,
general intangibles, effects, leaseholds, mail or other deliverics, mventory, checks, notes,
accounts, credits, recervables, contracts, insurance policics, and all cash, wherever located,
whether in the United States or abroad.

2. The term “document” is synonymous in meaning and equal in scope to the usage
of the term in Federal Rule of Civil Procedure 34(a), and includes, but ts not limited to, writings,
drawings, graphs, charts, photographs, audio and video recordings, computer rccords, and other
data compilations from which information can be obtained and translated, if necessary, through
detection devices into reasonable usable form. A draft or non-identical copy is a separate
document within the meaning of the term.

3. The term “Defendants” refers to WG Trading Investors, I..P., WG Trading
Company Limited Partnership, Westridge Capital Management, Inc., Paul Greenwood, and
Stephen Walsh, and any person insofar as he or she 1s acting in the capacity of an officer, agent,

servant, employee, or attorncy of any of the Defendants, and any person who receives actual
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notice of this Order by personal service or otherwtse insofar as he or she is acting in concert or

participation with any of the Defendants.

Jurisdiction and Venue
IT IS HEREBY ORDERED that:

4 This Court has jurisdiction over the Defendants and the subject matter of this case
pursuant to Section 22(a) of the Securities Act (15 U.S.C. § 77v(a}], Sections 21{e) and 27 of the
Exchange Act {15 U.S.C. §§ 78ufe) and 78aaj, and Section 214 of the Advisers Act [15 U.S.C. §
80b-14].

5. Venue is proper tn the Southern District of New York pursuant to 28 U.S.C. §
1391. The Defendants, directly and indirectly, have made use of the means and instrumentalities
of interstate commerce, or of the mails, in connection with the transactions, acts, practices and
courses of business alleged herein.

Il.
Prohibitions from Violating Section 17(a) of the Securities Act

IT IS HEREBY ORDERED that

7. Defendants, and cach of them, their agents, servants, employees, and attorncys-in-
fact, and those persons in active concert or participation with them who receive actual notice of
this Order by personal service, facsimile service, or otherwise, are preliminartly enjoined and
restrained from, directly or indirectly, singly or in concert, in the offer or sale of any security, by
use of any means or instruments of transportation or communication in interstate commerce or
by use of the mails:

(a) employing any device, scheme or artifice to defraud:
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(b) obtaining money or property by means of an untrue statement of material fact or
omitting to state a material fact necessary to make the statements made, in light of
the circumstances under which they were made, not misleading; and

{c) cngaging in any transaction, practice or course of business which operates or
would operate as a fraud or deccit upon the purchaser,

in violation of Section 17(a) of the Securities Act.
Tif.
Prohibitions from Violating Section 10(b) of the Securities Exchange Act and Rule 106-5
Thereunder

IT IS HEREBY ORDERED that,

8. Defendants, and each of them, their agents, servants, employees, and altomeys-in-
fact, and those persons in active concert or participation with them who receive actual notice of
this Order by personal service, facsimile service, or otherwise, are preliminarily enjoined and
restrained from, directly or indirectly, singly or in concert, in connection with the purchase or
sale of any security, by use of the means or instrumentalities of interstate commerce, or of the
mails, or of any facility of any national securities exchange:

(a) employing any device, scheme, or artifice to defraud;

(b) making any untrue statement of a material fact or omitting to state a material fact
necessary in order to make the statements made, in Light of the circumstances
under which they were made, not misleading; or

(c) engaging in any act, practice or course of business which operates or would
operate as a fraud or deceit upon any person,

in violation of Section 10(b) ef the Exchange Act and Rule !0b-5 thereunder.
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TV.
Prohibitions from Violating Sections 206(1), 206(2) and 206(4) af the Investment Advisers Act
and Rule 206(4)-8 Thereunder

{lt IS HEREBY ORDERED that,

9. Defendants Westridge, Greenwood and Walsh, and cach of them, their agents,
servants, employees, and attorneys-in-fact, and those persons in active concert or participation
with them who receive actual notice of this Order by personal service, facsimile service, or
otherwise, are preluminarily enjoined and restrained from, dircctly or indirectly, singly or in
concert, while acting as an investment adviser or associated person of an investment adviser, by

the usc of any means or instrumentality of interstate commerce, or of the mails:

(a) employing any device, scheme, or artifice to defraud any client or prospective
client; or
(b} engaging in any transaction, practice, or course of business which operates or

would operate as a fraud or deceit upon any client or prospective client, or
(c) engaging in any act, practice, or course of business which ts fraudulent, deceptive
or manipulative,
in violation of Sections 206(1), 206(2) and 206(4) of the Advisers Act and Rule 206(4)-8

thereunder.
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Vv.
Continued Force and Effect of Temporary Restraining Order
IT IS HEREBY ORDERED that:
10. The Court’s February 25, 2009 Order to Show Cause, Temporary Restraining
Order, and Order Freezing Assets and Granting Other Relief (“TRO”) shall continue in full force
and effect against Defendants until further order of the Court. Defendants shall comply fully
with all requirements of the TRO including, but not Limited to, the requirements pertaining to
ihe: (1) asset freeze, (2) directives to financial institutions and others, (3) maintenance and access
to business records, and (4) inspection and copying of books and records. The TRO’s
prohibition against transfer, dissipation, and disposal of assets shall continuc to apply to all assets
directly or mdirectly under the control of any of the Defendants.
VI.
Continued Force and Effect of Court's Appointment of Receiver
IT IS HEREBY ORDERED that:
11. The Receiver appointed under this Court’s TRO shall continuc to serve as
Recciver in thts proceeding with all of the duties and powers sct forth in the TRO. Pursuant to
the TRO, Defendants and all other persons or entities served with a copy of the TRO shall

cooperate fuily with and assist the Recciver.
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VIL.
Service of Order
IT IS HEREBY ORDERED that:
12. Copies of this Order may be served by any means, including facsimile

transmission and electronic mail, upon any financial institution or other entity or person that may
have possession, custody, or control of any documents or assets of Defendants, or that may be
subject to any provision of this Order.
VU.
Service on the Commission
IT 1S HEREBY ORDERED that:

13. Defendants shal] serve all notices and other such materials requtred by this Order,
and other materials on the Commission by delivering a copy to Paul G. Gizzi, Senior Trial
Counsel, and Thomas P. Smith, Jr., Senior Counsel, Division of Enforcement, U.S. Securitics
and Exchange Commission, 3 Worid Financial Center, Suite 400, New York, NY 10281 via
FedEx or other reliable overnight delivery service.
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IX.
Force and Effect of Order
IT IS BEREBY ORDERED that:

14. ‘This Order shall remain tn full force and effect until further order of this Court,

and that this Court retains jurisdiction of this matter for afl purposes.

SO ORDERED, this ss day of , 2009.

MAY 2 1 2009

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Gegr e BPaniels
UNITED STATES DISTRICT JUDGE

‘N. GEORG” FES

 
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CONSENT TO RELEASE OF FINANCIAL RECORDS

I, , do hereby direct any bank or trust company at which I

 

have a bank account of any kind upon which I am authorized to draw, and its officers, employees
and agents, to disciose all information and deliver copies of all documents of every nature in
your possession or control which relate to said bank accounts to any atlomey of the U.S.
Securities and Exchange Commission, and to give evidence relevant thereto, in the matter of
Securities and Exchange Commission v. WG Trading Investors, L.P., et al, now pending before
the United States District Court for the Southern District of New York, and this shall be
irrevocable authority for so doing. This direction is intended to apply to the laws of countries
other than the United States which restrict or prohibit the disclosure of bank information without
the consent of the holder of the account, and shall be construed as consent with respect thereto,
and the sante apply to any of the bank accounts for which I may be a relevant principal.

Dated: _ , 2009

 

 

Signature
